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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )                8:16CR308
                                              )
       vs.                                    )
                                              )
DIANA GUZMAN,                                 )                  ORDER
                                              )
                     Defendants.              )


       This matter is before the court on defendant’s Motion to Continue Trial [32].
Counsel needs addition time to obtain and review discovery as well as to explore plea
negotiations. Counsel has indicated that defendant will comply with NECrimR 12.1(a). For
good cause shown,

       IT IS ORDERED that the Motion to Continue Trial [32] is granted as follows:

       1. The jury trial now set for December 13, 2016 is continued to February 7, 2017.

       2. The defendant shall file the affidavit required by paragraph 9 of the progression
order and NE.CrimR 12.1(a) forthwith.

        3. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
justice will be served by granting this continuance and outweigh the interests of the public
and the defendant in a speedy trial. Any additional time arising as a result of the granting
of this motion, that is, the time between today’s date and February 7, 2017, shall be
deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act. Failure to grant a continuance would deny counsel the reasonable time
necessary for effective preparation, taking into account the exercise of due diligence. 18
U.S.C. § 3161(h)(7)(A) & (B)(iv).

       DATED November 23, 2016.

                                     BY THE COURT:

                                     s/ F.A. Gossett, III
                                     United States Magistrate Judge
